                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CASE NO. 3:13-00125
                                                )   JUDGE SHARP
MAX P. ANDOLSEK                                 )

                                           ORDER


         The sentencing hearing scheduled for Tuesday, October 14, 2014, at 1:30 p.m. is hereby

continued. The Court will instead hold a status conference for the same day and time.

         It is so ORDERED.


                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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